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FoR THE wEsTERN DISTRICT or TENNESSEE
wEsTERN DIVISION 95 JUN~I PH h:[]{

 

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W.D. o:~= 'm, manages
KELVIN SETTLE,
Petitioner,
vs. No. 05-2150*Ma/P
T.c. oUTLAw,

Respondent.

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SECOND ORDER DIRECTING PETITIONER TO
FILE AN §§ FORMA PAUPERIS AFFIDAVIT OR PAY THE HABEAS FILING FEE

 

Petitioner Kelvin Settle, Bureau of Prisons inmate
registration number 26754-044, an inmate at the Federal Prison Camp
in Millington, Tennessee, filed a petition for a writ of habeas
corpus pursuant to 28 U.S.C. § 2241 on February 23, 2005. The Court
issued an order on March ll, 2005 directing the petitioner, within
thirty (30) days, to file a properly completed ip fp;pa pauperis
affidavit, along with a copy of his inmate trust fund account
statement, or pay the habeas filing fee. The petitioner has not
responded, to this order, and the time set for compliance has
expired.

After the Court's order was prepared but before it was

signed, the Clerk docketed an lp forma pauperis application that

`F'hi:~: document entered on the docket sheet in compliance
;`a: mills 58 and/or 79{3) FF€CP on Q"&'O_§/

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had been submitted with the complaint but had not been filed at
that time because it did not contain an original signature. That
affidavit does not substantially comply with the Court's order
because it does not disclose any information concerning the
plaintiff’s inmate trust fund account. Nonetheless, because the
failure of the Court’s original order to discuss this affidavit may
have confused the petitioner, the Court ORDERS the petitioner, for
the second time, to submit a properly completed ip fp;ma pauperis
affidavit and a copy of his inmate trust fund account statement or
pay the five dollar ($5.00) habeas filing fee within thirty (30)
days of the date of entry of this order.l Failure to timely comply
with any requirement of this order will result in dismissal of the
petition without further notice for failure to prosecute.

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IT IS SO ORDERED this day of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

1 In the interest of expediting this matter, petitioner is advised
that, if his inmate trust fund account has a balance of at least twenty»five
dollars ($25.00), an application to proceed ip forma pauperis will be denied.

2

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02150 Was distributed by faX, mail, or direct printing on
J unc 2, 2005 to the parties listed.

 

Kelvin Settle
FPC-l\/l[LLlNGTON
26754-044

P.O. ch 2000
Millington, TN 38083

Honcrable Samuel Mays
US DISTRICT COURT

